USCA4 Appeal: 25-1273         Doc: 24           Filed: 04/04/2025        Pg: 1 of 4



                 UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                       DOCKETING STATEMENT--CIVIL/AGENCY CASES

        Directions: Counsel must make a docketing statement (civil/agency) filed entry in CM/ECF
        within 14 days of docketing of the appeal, or within the due date set by the clerk s docketing notice,
        whichever is later. File with the entry the (1) docketing statement form with any extended answers
        and (2) any transcript order form. Parties proceeding pro se are not required to file a docketing
        statement. Opposing counsel who finds a docketing statement inaccurate or incomplete may file any
        objections within 10 days of service of the docketing statement using the ECF event-docketing
        statement objection/correction filed.

         Appeal No. & Caption
         Originating No. & Caption
         Originating Court/Agency


         Jurisdiction (answer any that apply)
         Statute establishing jurisdiction in Court of Appeals
         Time allowed for filing in Court of Appeals
         Date of entry of order or judgment appealed
         Date notice of appeal or petition for review filed
         If cross appeal, date first appeal filed
         Date of filing any post-judgment motion
         Date order entered disposing of any post-judgment motion
         Date of filing any motion to extend appeal period
         Time for filing appeal extended to
         Is appeal from final judgment or order?                              Yes                No
         If appeal is not from final judgment, why is order appealable?




         Settlement (The docketing statement is used by the circuit mediator in pre-briefing review and
         mediation conducted under Local Rule 33. Counsel may make a confidential request for mediation by
         calling the Office of the Circuit Mediator at        .)

         Is settlement being discussed?                         Yes                       No



        1/28/2020 SCC
USCA4 Appeal: 25-1273         Doc: 24            Filed: 04/04/2025          Pg: 2 of 4




         Transcript (transcript order must be attached if transcript is needed and not yet on file)
         Is transcript needed for this appeal?                    Yes                        No
         Has transcript been filed in district court?             Yes                        No
         Is transcript order attached?                            Yes                        No


         Case Handling Requirements (answer any that apply)
         Case number of any prior appeal in same case
         Case number of any pending appeal in same case
         Identification of any case pending in this Court or
         Supreme Court raising similar issue
                                                                   If abeyance or consolidation is warranted,
                                                                   counsel must file an appropriate motion.
         Is expedited disposition necessary?                          Yes                      No
                                                                   If yes, motion to expedite must be filed.
         Is oral argument necessary?                                  Yes                      No
         Does case involve question of first impression?              Yes                      No
         Does appeal challenge constitutionality of federal           Yes                      No
         or state statute in case to which federal or
                                                                   If yes, notice re: challenge to
         state government is not a party
                                                                   constitutionality of law must be filed.


         Nature of Case (Nature of case and disposition below. Attach additional page if necessary.)
USCA4 Appeal: 25-1273         Doc: 24            Filed: 04/04/2025         Pg: 3 of 4




         Issues (Non-binding statement of issues on appeal. Attach additional page if necessary)




         Adverse Parties (List adverse parties to this appeal and their attorneys; provide party s address if the
         party is not represented by counsel. Attach additional page if necessary.)
         Adverse Party:                                        Adverse Party:


         Attorney:                                             Attorney:
         Address:                                              Address:




         E-mail:                                               E-mail:

         Phone:                                                Phone:

         Adverse Parties (continued)
         Adverse Party:                                        Adverse Party:


         Attorney:                                             Attorney:
         Address:                                              Address:




         E-mail:                                               E-mail:

         Phone:                                                Phone:
USCA4 Appeal: 25-1273        Doc: 24           Filed: 04/04/2025         Pg: 4 of 4




         Appellant (Attach additional page if necessary.)

         Name:                                               Name:


         Attorney:                                           Attorney:
         Address:                                            Address:




         E-mail:                                             E-mail:

         Phone:                                              Phone:

         Appellant (continued)
         Name:                                               Name:


         Attorney:                                           Attorney:
         Address:                                            Address:




         E-mail:                                             E-mail:

         Phone:                                              Phone:


         Signature: ____________________________________                 Date: ___________________

         Counsel for: _____________________________________________________________


         Certificate of Service (required for parties served outside CM/ECF): I certify that this
         document was served on ____________ by [ ] personal delivery; [ ] mail; [ ] third-party
         commercial carrier; or [ ] email (with written consent) on the following persons at the
         addresses or email addresses shown:




         Signature:                                         Date:
